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   Attorneys for Defendant and Counterclaimant,
 7 DBEST PRODUCTS, LLC
 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
                                 WESTERN DIVISION
11

12 GUANGZHOU YUCHENG                            Case No.: 2:21-cv-04758-JVS-JDE
   TRADING CO., LTD., a foreign
13                                              DEFENDANT DBEST PRODUCTS,
   limited liability company,
                                                INC.’S NOTICE OF MOTION AND
14                                              MOTION TO AMEND
                                                COUNTERCLAIM
15        Plaintiff / Counterclaim Defendant,
     v.
16
                                                JUDGE: JAMES V. SELNA
17 DBEST PRODUCTS, INC., a                      HEARING DATE: April 18, 2022
                                                TIME: 1:30 p.m.
18 California corporation,                      COURTROOM: 10C

19        Defendant / Counterclaim Plaintiff.

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                                                       DBEST PRODUCTS INC’S NOTICE OF MOTION AND
25                                                               MOTION TO AMEND COUNTERCLAIM
                                                                       Case No. 2:21-cv-04758-JVS-JDE
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 1         TO THE COURT, THE PARTIES, AND COUNSEL OF RECORD:

 2   PLEASE TAKE NOTICE that on April 18, 2022, at 1:30 p.m. or as soon thereafter

 3   as the matter may be heard, in Courtroom 10C of the Ronald Reagan United States

 4   Courthouse, located at 411 West Fourth Street, Santa Ana, California, Counterclaim

 5   Plaintiff dbest products, Inc. (“Counterclaim Plaintiff” or “DPI”), will and does

 6   move the Court for an order granting leave to file an amended counterclaim under

 7   Fed. R. Civ. P. 15(a)(2).

 8         Counsel for the parties have met and conferred as required by L.R. 7-3. While

 9   counsel engaged in a meaningful discussion, they were unable to reach a resolution

10   eliminating the need for this motion. This motion is therefore made following the

11   conference of counsel, which took place on March 7, 2022.

12         This motion will be based on this Notice, the accompanying Memorandum of

13   Points and Authorities, the accompanying declaration of Ehab M. Samuel in support,

14   the pleadings and papers on file in this matter, and the arguments of counsel at the

15   hearing on this motion.

16                                             Respectfully submitted,
     DATED: March 18, 2022
17

18                                             HACKLER DAGHIGHIAN MARTINO &
                                               NOVAK, P.C.
19
                                               By: /s/ Ehab M. Samuel
20                                             Ehab M. Samuel (CA SBN 228296)
                                               David A. Randall (CA SBN 156722)
21

22                                             Attorneys for Defendant and
                                               Counterclaimant
23                                             DBEST PRODUCTS INC.

24

25                                             ii        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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25                                                                        iii             DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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                   MEMORANDUM OF POINTS AND AUTHORITIES
 1
           I.     INTRODUCTION
 2
           Defendant dbest products, Inc., (“DPI”) is a leading innovator and seller of
 3
     portable carts in the United States. Plaintiff, Guangzhou Yucheng Trading Co., Ltd.
 4
     (“Guangzhou”) is an Amazon seller and maintains the “Winkeep” storefront with
 5
     Amazon, where it sells portable carts. After DPI complained to Amazon that
 6
     Guangzhou’s carts infringe its U.S. patent and filed suit against Amazon,
 7
     Guangzhou filed this action for a declaratory judgment that its carts sold on Amazon
 8
     (“Accused Products”) do not infringe any claim of DPI’s asserted patent and that the
 9
     patent is invalid. DPI answered the complaint and filed a counterclaim for
10
     infringement.
11
           In February 2022, DPI learned that Guangzhou has started selling the Accused
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     Products on Walmart’s website at Walmart.com. Additionally, descriptions of the
13
     products on Walmart.com include DPI’s registered trademark, TROLLEY DOLLY.
14
     Therefore, DPI seeks to amend its counterclaim to add allegations concerning the
15
     infringing sales via Walmart and to add counts of federal trademark infringement,
16
     unfair competition and common law trademark infringement.
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           Although the time has passed to amend its counterclaim as a matter of right,
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     there is good cause for the amendment. The amendment is not sought to delay the
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     proceedings and will not delay them. Nor is there any deficiency in the original
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     counterclaim that the amendment seeks to remedy. There is no threat of prejudice to
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     the opposing party. First, the parties are already litigating the issues of patent
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     infringement and validity, including claim construction, with respect to the same
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     patent and the same Accused Products. Second, Guangzhou has been on notice
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25                                               1         DBEST PRODUCTS INC’S NOTICE OF MOTION AND
                                                                     MOTION TO AMEND COUNTERCLAIM
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 1   since 2018 that DPI owns the registered trademark, and agreed not to use it, yet

 2   nevertheless used it to describe the Accused Products offered for sale via Walmart.

 3   If DPI is not permitted to amend its counterclaim, the alternative would be to file a

 4   new action, but as a plaintiff, DPI would have to try to serve Guangzhou in China,

 5   which would be time consuming if even possible. Permitting the amendment would

 6   allow all the intellectual property issues raised by Guangzhou’s sales of the Accused

 7   Products via Amazon and Walmart to be litigated together, which would be efficient

 8   for the parties and the Court and serve the interest of justice.

 9         II.    FACTUAL BACKGROUND

10         DPI is a leading innovator and seller of portable cars in the United States.

11   Counterclaim, (ECF 27) ¶ 3. It is the owner of a worldwide portfolio of intellectual

12   properties, including utility patents, design patents, and trademarks. Id., ¶ 2. Since

13   at least as early as June 15, 2014, DPI has been marketing and selling its patented

14   portable carts or hand trucks bearing the TROLLEY DOLLY trademark in United

15   States commerce. DPI has used, throughout the United States, the TROLLEY

16   DOLLY trademark on a regular and continuous basis in connection with portable

17   carts or hand trucks with removable fabric container. Declaration of Ehab M.

18   Samuel In Support of dbest’s Motion for Leave to Amend Counterclaim (“Samuel

19   Decl.”), ¶ 3. In addition to its common law trademark rights throughout the United

20   States, DPI is the owner of all right, title, and interest in and to the word mark

21   TROLLEY DOLLY®, U.S. Trademark Reg. No. 5,348,107, filed on July 6, 2017,

22   and registered on November 28, 2017, and U.S. Trademark Reg. No. 6,248,551,

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25                                               2         DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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 1   filed on November 25, 2019, and registered on January 19, 2021. Id., ¶ 4 and Exs. 2

 2   and 3.

 3            Guangzhou is an Amazon seller and maintains the “Winkeep” storefront with

 4   Amazon. Complaint (ECF 1), ¶ 2. It sells a variety of products on its Amazon

 5   storefront, including utility cars, storage carts, and shopping carts. Id. Amazon is

 6   the primary sales channel through which it sells its products. Id. On or about June

 7   2018, DPI submitted a complaint of trademark infringement with Amazon

 8   (Complaint ID: 5167373501) in connection with Guangzhou’s use of the TROLLEY

 9   DOLLY mark in connection with the Accused Product (ASIN # B07B4XSW9L).

10   Samuel Decl., ¶ 6. On or about June 27, 2018, Guangzhou sent an email to DPI,

11   acknowledging the notification of trademark infringement, recognizing that the

12   “Trolley Dolly [mark] was registered by dbest products,” and apologizing for its

13   conduct. Id., ¶ 7 and Ex. 4.

14            DPI filed a lawsuit in this Court alleging infringement of U.S. Patent No.

15   9,233,700 in a case captioned DBest Products Inc. v. Amazon.com, Inc., and accused

16   Amazon of infringing the ’700 Patent, inter alia, by offering and selling certain of

17   Guangzhou’s products, including a multi-purpose “stair climber” cart. Complaint, ¶

18   10. That lawsuit and the subsequent removal of Guangzhou’s Amazon product

19   listings prompted Guangzhou to file this action for declaratory judgment on June 10,

20   2021. Id., ¶ 6. DPI filed an answer and a counterclaim for patent infringement.

21   Answer and Counterclaim (ECF 27). The parties have completed claim construction

22   discovery and are in the process of briefing claim construction. Samuel Decl., ¶ 3.

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25                                               3         DBEST PRODUCTS INC’S NOTICE OF MOTION AND
                                                                     MOTION TO AMEND COUNTERCLAIM
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 1         Notwithstanding the 2018 notice of trademark infringement and DPI’s rights

 2   to the TROLLEY DOLLY mark, Guangzhou again impermissibly uses, directly or

 3   indirectly, the Trolley Dolly® trademark. Id., ¶ 8. On or about February 15, 2022,

 4   DPI learned that Accused Products previously offered for sale on the Amazon.com

 5   website are now also being offered for sale on the Walmart.com website, from

 6   which a customer may purchase products that are shipped to the customer anywhere

 7   in the United States. Id., ¶ 9. The Accused Products were being sold under the

 8   “Winkeep” brand on Walmart.com. Id. ¶ 10-12. And the descriptions of the

 9   Accused Products incorporated the Trolley Dolly trademark. Id. The illustrations of

10   the Accused Products as offered for sale on Walmart.com in the proposed first

11   amended counterclaim at ¶¶ 23, 24, were captured from Walmart.com between

12   February 15 and March 8 and are true representations of the listings viewed on that

13   website. Id., ¶ 16. Below is an example of a listing for an Accused Product found

14   on Walmart.com.

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25                                            4         DBEST PRODUCTS INC’S NOTICE OF MOTION AND
                                                                  MOTION TO AMEND COUNTERCLAIM
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 1         And these images match those in marketing materials produced by

 2   Guangzhou in this action. Id., ¶¶ 17-19. Below is a copy of a marketing image

 3   produced by Guangzhou bearing production number GYT000339 which is the same

 4   as the second small image shown on the left of the main image above.

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17         On March 3, 2022, DPI’s counsel sent an email to Guangzhou’s counsel

18   stating that DPI intended to file this motion for leave to amend, to add an allegation

19   of patent marking and to add claims for trademark infringement and unfair

20   competition. Id., ¶ 13. Counsel included pictures of the Accused Products found on

21   the Walmart.com website that show unauthorized use of DPI’s TROLLEY DOLLY

22   trademark. Counsel proposed to meet and confer on this motion on March 7, when

23   the parties were already scheduled to meet and confer on other issues. On March 7,

24

25                                              5        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
                                                                   MOTION TO AMEND COUNTERCLAIM
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 1   counsel for the parties met and conferred on this motion as required by L.R. 7-3 but

 2   were unable to reach a resolution. Id., ¶ 14. Indeed, Guangzhou’s counsel

 3   represented that Guangzhou was not the source of the Accused Products being

 4   offered for sale on the Walmart.com website. Id. On March 8, 2022, DPI’s counsel

 5   sent Guangzhou’s counsel a draft of the proposed first amended counterclaim. Id.

 6   and Ex. 5. Within days of sending the draft to Guangzhou’s counsel, the listings on

 7   Walmart.com for the Accused Products were changed or taken down. The words

 8   “TROLLEY DOLLY” no longer appeared, and the brand name of the Accused

 9   Products had been changed from Winkeep to a different brand name, “POPOLIC.”

10   Id., ¶ 15. The manufacturer’s product number on the listings, however, are the same

11   product numbers that appear on the old listings with the Winkeep brand name and

12   unauthorized use of “TROLLEY DOLLY.” Id. and Ex. 6.

13      The proposed first amended counterclaim adds allegations and claims not made

14   in DPI’s counterclaim. First, it includes new allegations that DPI complies with

15   patent marking requirements and that it gave Guangzhou actual notice of

16   infringement on or about November 14, 2019. Id., Ex. 1, ¶ 6. Second, it adds

17   allegations about DPI’s federal trademark registrations and Guangzhou’s

18   unauthorized use of DPI’s TROLLEY DOLLY trademark. See id. at ¶¶ 1, 7, 8, 13,

19   19-24, 28, 33, 34, 42-67. Third, it adds allegations that the Accused Products are

20   offered for sale on Walmart.com in addition to Amazon.com. See, e.g., id. ¶¶ 17, 18,

21   27-30. Fourth, it adds to Count 1 for patent infringement allegations that

22   Guangzhou has been and is indirectly infringing DPI’s patent by acts of contributory

23   infringement and inducing infringement. See, e.g., id. ¶¶ 36, 37, 39, 40. Fifth, it

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25                                              6        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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 1   adds counts for federal trademark infringement under 15 U.S.C. § 1114, unfair

 2   competition and false designation of origin under 15 U.S.C. § 1125(a), and common

 3   law trademark infringement and passing off. See, e.g., id. ¶¶ 42–67.

 4         III.   ARGUMENT

 5                A. Legal Standard

 6         In the Ninth Circuit, a request for leave to amend after the entry of a Rule 16

 7   scheduling order is governed primarily by Rule 16(b). Johnson v. Mammoth

 8   Recreations, Inc., 975 F.2d 604, 608-09 (9th Cir. 1992). A party seeking to amend a

 9   pleading after a date specified in the scheduling order must first show “good cause”

10   for amendment under Rule 16(b). Id. If good cause is shown, the party must then

11   demonstrate that amendment was proper under Rule 15. Id. Fed. R. Civ. P. 15,

12   16(b). Pursuant to Rule 16(b), a scheduling order “shall not be modified except

13   upon a showing of good cause and by leave of the district judge…” Fed. R. Civ.

14   16(b). But the Advisory Committee Notes indicate that “a formal motion is not

15   necessary” and the Court “may modify the schedule on a showing of good cause if it

16   cannot reasonably be met despite the diligence of the party seeking the extension.”

17   Fed. R. Civ. P. 16(b), Advisory Committee Notes to the 1983 Amendments. The

18   good cause standard “primarily considers the diligence of the party seeking the

19   amendment.” Johnson, 975 F.2d at 609. While a court may consider prejudice to

20   the opposing party, “the focus on the inquiry is upon the moving party’s reasons for

21   seeking modification.” Id.

22         “A party may amend its pleading once as a matter of course within (A) 21

23   days after serving it, or (B) if the pleading is one to which a responsive pleadings is

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25                                              7         DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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 1   required, 21 days after service of a responsive pleading or 21 days after service of a

 2   motion under Rule 12(b), (e), or (f), whichever is earlier. Fed. R. Civ. P. 15(a)(1).

 3   In all other cases, a party may amend its pleading only with written consent from the

 4   opposing party or the court’s leave, which should be “freely give[n] when justice so

 5   requires.” Fed. Civ. Pro. R. 15(a)(2); see Morongo Band of Mission Indians v. Rose,

 6   893 F.2d 1074, 1079 (9th Cir. 1990) (requiring that policy favoring amendment be

 7   applied with “extreme liberality.” In determining whether leave to amend should be

 8   granted, four factors are considered: (1) undue delay, (2) bad faith or dilatory

 9   motive, (3) prejudice to the opposing party, and (4) futility of amendment. Ditto v.

10   McCurdy, 510 F.3d 1070, 1079 (9th Cir. 2007). The consideration of prejudice to

11   the opposing party “carries the greatest weight.” Eminence Capital, LLC v. Aspeon,

12   Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). In the absence of an “apparent or

13   declared reason,” such as undue delay, bad faith, dilatory motive, repeated failure to

14   cure by prior amendments, prejudice to the opposing party, or futility of amendment,

15   it is an abuse of discretion for a district judge to refuses to grant leave to amend a

16   pleading. See Foman v. Davis, 371 U.S. 178, 182 (1962); Moore v. Kayport

17   Package Express, Inc., 885 F.2d 531, 538 (9th Cir. 1989).

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25                                               8        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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 1               B. There is good cause to grant DPI leave to amend its

 2                    counterclaim in light of Guangzhou’s new acts infringing DPI’s

 3                    patent and trademark rights.

 4               1.   DPI did not unduly delay seeking leave after learning
                 of Guangzhou’s activities on Walmart.com.
 5

 6         DPI first learned that the Accused Products were being sold on Walmart.com

 7   on or about February 15, 2022. Samuel Decl., ¶ 10. DPI’s counsel promptly

 8   contacted Guangzhou’s counsel on March 3, 2022, about its intention to seek leave

 9   to amend, and provided evidence that the Accused Products were being offered for

10   sale on Walmart .com. Id., ¶ 13. The parties met and conferred as required by Rule

11   7-3 on March 7, 2022. Id., ¶ 14. Within days, the listings of the Accused Products

12   were changed to remove the “Winkeep” brand and add a different brand name,

13   “Popolic,” and omit the unauthorized use of the “TROLLEY DOLLY” mark. Id., ¶

14   15 and Ex. 6. Under these circumstances, there was no undue delay in seeking leave

15   to amend and this factor favors granting leave.

16               2.     DPI has no bad faith or dilatory motive.
17
           As the patent and trademark owner, DPI has no reason to want to delay the
18   litigation. Nor will the amendment delay the proceedings. The parties agreed to
19   phased fact and expert discovery, beginning with claim construction discovery to be
20   completed by December 20, 2021. Joint Rule 26 Meeting Report (ECF 24), at 6:22

21   and Ex. A (ECF 24-1). Because DPI is not adding new Accused Products or
     asserting different patent claims, there is no foreseeable need to amend preliminary
22
     infringement contentions or for additional claim construction. The new trademark
23
     issues are not complex so there is ample time to complete fact discovery on the
24

25                                             9        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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 1   trademark issues by the discovery cutoff of June 9, 2022. See Civil Minutes (ECF
     26) (setting discovery cut-off for June 9, 2023). This factor favors granting leave to
 2
     amend.
 3
                  3.  The proposed amendment will not prejudice
 4                Guangzhou.
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           Guangzhou apparently made a decision to start offering the Accused Products
 6
     on Walmart.com in addition to Amazon.com after filing this action and after DPI
 7   filed its counterclaim for infringement, perhaps out of concern that it could be
 8   prevented from selling the Accused Products on Amazon. Guangzhou was also on
 9   notice of, and previously acknowledged, DPI’s federal trademark registration of its
     TROLLEY DOLLY trademark. Samuel Decl., ¶¶ 6-7 and Ex. 4. As such, it
10
     assumed the risk that DPI would enforce its patent and trademark rights with respect
11
     to the conduct on Walmart.com. The new trademark issues are not complex so there
12
     is ample time to complete fact discovery on the trademark issues by the discovery
13   cutoff of June 9, 2022. See Civil Minutes (ECF 26) (setting discovery cut-off for
14   June 9, 2023). This factor favors granting leave to amend.
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                  4.    The amendment is not futile.
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17         DPI seeks leave primarily to allege new infringing conduct by Guangzhou and
     assert claims based on that new conduct. To avoid futility, a party “must
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     demonstrate that its pleading states a claim on which relief could be granted, and it
19
     must proffer sufficient facts supporting the amended pleading that the claim could
20
     survive a dispositive pretrial motion.” Kemin Foods, L.C. v. Pigmentos Vegetales
21   Del Centro S.A. de C.V., 464 F.3d 1339, 1354-55 (Fed. Cir. 2006). The new counts
22   state claims on which relief could be granted for federal trademark infringement,
23   federal unfair competition, and common law trademark infringement and passing
     off. Indeed, Guangzhou’s counsel did not raise any futility argument in the meet and
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25                                             10        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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 1   confer, instead taking the position that it was not the source of the Accused Produces
     on Walmart.com. But an amendment is not futile merely because the other party
 2
     denies the allegations. This factor favors granting leave to amend.
 3

 4         IV. CONCLUSION
        For the reasons discussed above, DPI respectfully requests that its motion for leave
 5

 6   to amend its counterclaim be granted.

 7   DATED: March 18, 2022                     HACKLER DAGHIGHIAN MARTINO &
                                               NOVAK, P.C.
 8
                                               By: /s/ Ehab M. Samuel
 9
                                               Ehab M. Samuel (CA SBN 228296)
10                                             David A. Randall (CA SBN 156722)

11
                                               Attorneys for Defendant and
12                                             Counterclaimant
13                                             DBEST PRODUCTS, INC.

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25                                             11        DBEST PRODUCTS INC’S NOTICE OF MOTION AND
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